     Case 1:20-cv-00143-PJG ECF No. 29 filed 08/28/20 PageID.654 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
                            ______________________

TRACIE FISH,

                    Plaintiff,                   Hon. Phillip J. Green

v.                                               Case No. 1:20-cv-143

ANDREW SAUL, Commissioner of
Social Security,

                  Defendant.
____________________________________/

                                  JUDGMENT

       In accordance with the Memorandum Opinion entered this date:

       IT IS HERBY ORDERED that the Commissioner’s decision is VACATED,

and the matter REMANDED for further administrative action pursuant to sentence

four of 42 U.S.C.   405(g).


Dated: August 28, 2020                     /s/ Phillip J. Green
                                           PHILLIP J. GREEN
                                           United States Magistrate Judge
